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oOo sa DB HH SP WH HB FF OD CO OH HI DH ww BR WH YY KS BS

Case 1:08-cv-00498-LJO-JLT Document.64-4 Filed 04/27/12 Page 1 of 53

MELISSA W. COOK, ESQ.; SBN 134791
mwccoast@aol.com

ERIN E. DAVIS, ESQ.; SBN 259453
ee.davis@sbcglobal.net

MELISSA W. COOK & ASSOCIATES
3444 Camino del Rio North, Suite 106
San Diego, California 92108

Telephone: (619) 280-4302

Facsimile: (619) 280-4304

Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
_ EASTERN DISTRICT OF CALIFORNIA

BOARD OF TRUSTEES OF THE _i+) Case No. 08 CV-00498-LJO-JLT
KERN COUNTY ELECTRICAL
PENSION FUND, BOARD OF DECLARATION OF ERIN E. DAVIS

TRUSTEES OF THE KERN COUNTY) IN SUPPORT OF PLAINTIFFS’

ELECTRICAL WORKERS HEALTH } APPLICATION FOR DEFAULT

& WELFARE TRUST, AND BOARD ) JUDGMENT BY COURT

OF TRUSTEES OF THE KERN

COUNTY ELECTRICAL

JOURNEYMAN AND _

APPRENTICE TRAINING TRUST, Hearing Date: June 1, 2012
Time: 9:00 am

Plaintiffs, Courtroom: SuiteA |
Judge: Hon. Jennifer Thurston
V.

CHRISTOPHER BURGONI, an

individual, and doing business as

ALPHA OMEGA ELECTRIC;

TADOC ENTERPRISES, INC., a

California corporation doing business

as ALPHA OMEGA ELECTRIC;

FULCE ENTERPRISES, INC., a

California corporation, and DOES 1 oo

through 50, inclusive, Complaint Filed: April 10, 2008

Defendants. .

I, Erin E. Davis, declare as follows:
1. I am an attorney licensed to practice in the State of California. [am an
associate with the law firm of Melissa W. Cook & Associates, counsel of record for

Plaintiff Kern County Electrical Pension Fund, Kern County Electrical Workers

EED/cl/1155.15(1).wpd

Dec. of Erin E. Davis In Supp. of Plaintiffs’ App. For Default Judgment Case No. 08CV00498-LJO-JLT

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we bo BO BRD BD BO BRD BRD ORDO OO meet
oOo ~~ DB Hm FP WwW NHN KH CT OO A YI DH wm FB WH NY KF OC

Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 2 of 53

Health & Welfare Trust, and the Kern County Electrical Journeyman and
Apprentice Training Trust. The following facts are within my personal knowledge,
and, if called as a witness, I could and would testify fully and competently thereto.

2. The First Amended Complaint in this action was filed on June 16,
2010.

3. While Defendants did appear in this action, this Court ordered
Defendants’ answers stricken, and default was entered against the Defendants on
December 21, 2011. . .

4, Our law firm took over representation of Plaintiffs in December 2009.
Prior to this date, Plaintiffs were represented by Scott Perlman at Perlman Fox, LLP.
Mr. Perlman’s hourly rate varied between $95.00 to $200.00 per hour, depending —
on the task he was performing. Mr. Perlman billed 86.4 hours during 2008 and
2009, for a total of $16,602.51. Mr. Perlman also billed $1,873.51 in costs to
Plaintiffs. A true and correct copy of Mr. Perlman’s billing statements is attached
hereto as Exhibit “A”.!

5, The billing rate for principal partner Melissa W. Cook of Melissa W.
Cook and Associates on this matter is $320.00 per hour and billing rates for myself
as an associate attorney on this matter is $250.00 per hour. In an effort to keep
costs down, Melissa W. Cook reviewed my work, but did not bill time to this case.

6. From December 3, 2009 to the present, Melissa W. Cook and
Associates has spent 86.9 hours on this matter and billed Plaintiffs $21,725.00.
These hours were spent reviewing and analyzing Mr. Perlman’s files and becoming.
familiar with the litigation in progress, preparing the First Amended Complaint,
negotiating with Defendants’ former counsel regarding document production,

preparing formal discovery, preparing a Motion to Compel, telephonically attending

'Mr. Perlman’s billing entries have been redacted to product the attorney-client and attorney
work product privileges. Should this Court find it necessary to review the entries that have
been redacted, Plaintiffs request that it be done in camera.

-2-

Dec, of Erin E. Davis In Supp. of Plaintiffs’ App. For Default Judgment Case No. 08CV00498-LJO-JLT

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wo NH NH KH WN WV WH WN NH Se Bee ee ee Se Se Se eS.

Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 3 of 53

a hearing on the same, reviewing filed documents, preparing a response brief to
Defendants’ counsel’s Motion to Withdraw, begin preparing a Motion for Summary
Judgment, prepare a response to this Court’s Report and Recommendations, and
preparing this Application for Default Judgment and related documents. Our office
also billed Plaintiffs $673.24 in costs. A true and correct copy of the appropriate
billing invoice is attached hereto as Exhibit “B”.

7. In total, Plaintiffs have expended $38,327.51 in attorney’s fees
and $2,546.75 in costs throughout the course of this litigation.

I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.
DATED: April _26 , 2012 MELISSA W. COOK & ASSOCIATES

By:/s/Erin E. Davis
Melissa W. Cook
ErinE. Davis,
Attorneys for Plaintiffs

*My billing records have been redacted for the same reasons set forth in Footnote 1 above.

-3-

Dec. of Erin E. Davis In Supp. of Plaintiffs’ App. For Default Judgment Case No. 08CV00498-LJO-JLT -

Case 1:08-cv-00498-LJ

Attorney's Fees

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Grand Totai

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195.00
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117.00

312.00

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Ur

Billing Summary Perlman Fox, LLP

Attorney's Fees Cont. Costs

28.50
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950°

195.00

58.50
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9.50
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9.50
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58.50
117.00
234.00
58.50
47.50
780.00
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8,560.15

EXHIBIT A

40.32
350.00
60.00
1.50
26.54
28.28
240.10
417.85
159,88
2.68

1,297.15

Hours

JLT Document 64-4 Filed 04/27/12 Page 4 of 53

1.30
0.10
5.00
3.20
0.50
2.20
0.50
5.10
0.90
1.70
0.80
1.40
8.70
4.90
0.90
1.10
1.00
1.00
2.80
0.70

43,80.

2008 -
Case 1:08-cv-00498-LJO-JLT Pea ks LERCS 04/27/12 Page 5 of 53

1430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits Admin, Inc. —

_ Billie Hanner
3008 Sillect Drive, Suite 100
Bakersfield CA 93308

March 01, 2008

Invoice #12799

Professional Services

—Hrs/Rate ___Amount

2/1/2008 S Alpha Omega matter: receipt, review, and analyze documents from Chris 0.30 58.50
Burgone (Alpha). , 195.00/hr
2/11/2008
$s

2/42/2008 S$

2/20/2008 Alpha Omega matter: receipt, review, and analyze E-mail fone? 0.10 9.50
regarding status. 9§.00/hr

S Alpha Omega matter: telephone conference with @jipregarding Aipha 1.00 195.00
Omega status; memo to file; receipt, review, and analyze fourteen (14) page 195.00/hr

fax; receipt, review, and analyze Collective Bargaining Agreement.

2/24/2008 = a. am
22712008 i paeeeeemenamemamaae, a =
nt Pn, ip wT

For professional services rendered “a a,

(661) 328-1986
EXHIBIT A

an
4 Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 6 of 53

Construction Benefits Admin, Inc.
Page 2

Hrs/Rate Amount

S Alpha Omega : receipt, review, and analyze telefax regarding
Alpha Omega entities.

3/19/2008

3/21/2008 § eee

3/24/2008 S Alpha Omega matter-continue investigation of Alpna Omega entities; 430 | 838.50
continue preparaiign of Complaint; prepare exhibits to Complaint; telephone 195.00/hr
conference with egarding investigation; memo to file.

3/29/2008 S. Alpha Omega matter: finalize Alpha Omega Complaint. 0.50 97.50

195.00/hr

For professional services rendered i? ,
Previous balance . a

Accounts receivable transactions

3/19/2008 Payment to account from Apprentice and Training Fund - Thank You. Check No.
3/19/2008 Payment to account from Health and Welfare Fund - Thank You.
~~

Check No.
3/19/2008 Payment to account from Pension Fund - Thank You. Check no a

Total payments and adjustments

Balance due ai

EXHIBIT A . 6
Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 7 of 53

iruction Benefits Admin, Inc.

Page 3
Additional Charges :
Amount
4/31/2008 Online research - LexisNexi 119.90.
Total additional charges $119.90

Total amount of this bill
Previous balance

Accounts receivable transactions

1/15/2008 Payment to account - Thank You. Check No.
1/15/2008 Payment to account - Thank You. Check No.
1/15/2008 Payment to account - Thank You. Check No.

Total payments and adjustments

Balance due

EXHIBIT A . 7
Case 1:08-cv-00498-LJO-JLT .D :
ph cum be LLP ed 04/27/12 Page 8 of 53 -

4430 Truxtun Avenue, Suite 720
Bakersfield, CA 93304

Invoice submitted to:
Construction Benefits Admin, Inc.

Billie Hanner
3008 Sillect Drive, Suite 100
Bakersfield CA 93308

May 05, 2008

invoice #12990

Professional Services

_HirsiRate  __Amount

4/8/2008 0.20 19.00
95.00/hr

° ee, =
4/9/2008 S Alpha Omega matter. document organization and analysis of exhibits for 0.50 97.50
Complaint; prepare and execute Federal Cover Sheet. 195.00/hr
4/10/2008 Alpha Omega matter: electronically file Complaint; document organization and 0.60 57.00
indexing files. 95.00/hr
4/11/2008 Receipt, review, and calendar Notices from court; telephone conference with 0.50 47.50
_ court regarding docket correction notice. 95.00/hr
4116/2008 Alpha Omega matter: prepare all documents for service on defendants, review 4.00 95.00
court docket for Summons; hearing dates; calendar same. 95.00/nr
4/25/2008 Alpha Omega matter: telephone conference with iF egaraing status; memo 0.30 28.5(
to file. 95.00/hr
4/29/2008 Alpha Omega matter: scan and atectronically file Proofs of Service; calendar 0.50 47.51
Answer due dates. 95.00/hr
Alpha Omega matter: prepare E-mail t egarding status. 0.16 9.5
95.00/hr

a is

(661} 328-1986
EXHIBIT A : g
Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 9 of 53

Construction Benefits Admin, Inc.
Page 2

_Hrs/Rate _ Amount

For professional services rendered
Additional Charges :
4/4/2008 Online research - PACER charges
4/10/2008 Alpha Omega matter: Federal Court filing fee
4/28/2008 Delivery services/messengers

~ 4/30/2008

Facsimile - April 2008.

Total additional charges

Total amount of this bill

Previous balance

Accounts receivable transactions

4/9/2008 Payment to account - Thank You. Check No.
4/11/2008 Payment to account - Thank You. Check No.
4/11/2008 Payment to account - Thank You. Check No.

Total payments and adjustments

Balance due

EXHIBIT A . 9
Case 1:08-cv-00498-LJO-JLT Berar FeksLifed 04/27/12 Page 10 of 53

1430 Truxtun Avenue, Suite 720

Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits Admin,

Billie Hanner
3008 Sillect Drive, Suite 100
Bakersfield CA 93308

June 02, 2008

Invoice #1 3690

Inc.

Professional Services

5/1/2008 -

5/4/2008

pha Omega matier: telephone conference with Dan Klingenberger's office

5/7/2008 Aa omsda ma

ing representation of defendants, copy request; memo to file; prepare
copies and letter to same.

Al ha Omega

5/12/2008 $

5/13/2008

matter: document organization and indexing all files.

tter: telephone conference with opposing counsel's office
rding extension; memo to file.

‘matter: telephone conference with opposing counsel's office;

atter; receipt, review, and calendar opposing

<Aipha Ome
\memo-totile; calendar new answer date per agreement to extension.

Gia megane
’  fegarding éxtension.

counsel letter

—

Coram matter: receipt, review, and process and calendar opposing

étter regarding extension.

Hrs/Rate

Amount

0.10 feGHaRGE- -GHARGE—
95.00/hr \

0.60

95.00/hr

ue Be

0.30 28
95.00/hr

a

0.30 28.50

95.00/hr

4

“0.10
95.00/hr

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0.10
95.00/hr

(661) 328-1986
EXHIBIT A
Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 11 of 53

Construction Benefits Admin, Inc. Page 9

HrsiRate _ Amount
5/14/2008

5/15/2008 $ a Omega inaiter: receipt, review, and calendar Dan Klingenberger letter 0.20 \ 39.00
garding extension of time to answer Complaint; receipt, review, and 195.00/hr
analyze proposed Stipulation.
5/19/2008. 0.40 8.00 00
95.00/hr

5/23/2008 S 7 i

5/27/2008 naga matter: receipt, | review, and analyze defendants’ Answer to 0.30

Comp aint. 195.00/hr
6/29/2008 pha Omega matter: receipt, review, and process E-mail ‘ror ay 0.30
regarding Status; respond to same. 95.00/hr —

For professional services rendered Wi

Additional Charges :

5/31/2008 Postage -May 2008 0.84
Copies - May 2008 21.20

Facsimile - May 2008 . , 4.50

Total additional charges $26.54

Totai amount of this bill
Previous balance
Accounts receivable transactions
5/22/2008 Payment to account - Thank You. Check No.

5/22/2008 Payment to account - Thank You. Check No
9/22/2008 Payment to account - Thank You. Check No

Total payments and adjustments

EXHIBIT A 11
Case 1:08-cv-00498-LJO-JLTPeriman Frae~4tPriled 04/27/12 Page 12 of 53

1430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits Admin, Inc.
Billie Hanner

3008 Sillect Drive, Suite 100
Bakersfield CA 93308

ov

August 05, 2008

Invoice #1 3286

Professional Services

‘Hrs/Rate Amount

7/3/2008 a ii,
7/7/2008 S Alpha-Omega-matter: review file; prepare for telephone conference with 3.00 ~~ 585.00

opposing counsel regarding Mandatory Scheduling Conference; memo to file; 195.00/hr

legal research early neutral evaluation option; prepare E-mail to court clerk;

telephone conference with Jeff Davis regarding meet and confer for Mandatory

Scheduling Conference; telephone conference with Nathan Powell regarding

Mandatory Scheduling Conference; memo to file; receipt, review, and analyze

Stipulation regarding early neutral evaluation.
7/8/2008 S .Alpha.Omega matter: telephone conference with court clerk regarding early 0.40 78.00

neutral case evaluation; memo to file; telephone call te opposing counsel; left 195.00/hnr

message to return call; receipt, review, and process Stipulation and Order. .

a a”

7/10/2008 S Alpha‘@mega matter: receipt, review, and calendar Court Order regarding - 0.40 19.50

neutral evaluation. 195.00/hr

7/14/2008  telephoneconference with court regarding neutrals; memo to file. on ob/h 28.50
- c

7/15/2008  Alpti# Omega matter: prepare E-mail to Court clerk regarding neutrais. ono oa 9.50
, r

‘Alpha Omege matter: receipt, review, and analyze E-mail from Court clerk 0.10 9.50

regarding neutrals 9§.00/hr

(661) 328-1986

EXHIBIT A 12
Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 13 of 53

Construction Benefits Admin, Inc.

Page 2

Hrsi/Rate Amount

7/17/2008 S$ Alpha-Omega-matter: receipt, review, and analyze Nathan Powell letter and 1.00 195.00
ackage regarding proposed mediators; telephone conference with 495.00/hr

garding status report; memo to file; telephone conference with Nathan
Powell regarding status; memo fe file.

7re20cs Sees

7/21/2008 S Aipha.Omega matter: telephone conference with Nathan Powell regarding 0.30 58.50
mediators and Alpha analysis of case; memo to file. 195.00/hr
Alpha. Omega matter: telephone conference with client regarding status: memo 6.30
to file, 95.00/nr
S -Receipt;réviéw, and process fax letter from opposing counsel regarding 0.10 19.50
telephonic appearance. 195.00/hr
7/22/2008 S Alpha-@rtiéga matter: receipt, review, and calendar notice of hearing in Federal 0.10 19.50
Court on Court's own motion. 195.00/hr
7/24/2008 Alpha.Omega matter: prepare E-mail to Goldner's clerk regarding 08/04 status 0.10 9.50
conference. - 98.00/hr
7/28/2008 S Alpha-Oméga maiter: receipt, review, and analyze Nathan Powell letter 0.10 19.50
regarding neutral evaluation. 195.00/hr

For professional services rendered

Additional Charges :

7/10/2008 Online research - PACER Charges - July 2008 . 18.64
7/31/2008 Postage - July 2008. 2.44
Copies - July 2008. , 7.20

Total additional charges - $28.28

Total amount of this bill

EXHIBIT A 13
Case 1:08-cv-00498-LJO-JLT Parkmanriex,LLPiled 04/27/12 Page 14 of 53

. 1430 Truxtun Avenue, Suite 720
ve Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits Admin, Inc.

Billie Hanner -
3008 Sillect Drive, Suite 100
Bakersfield CA 93308

September 02, 2008

Invoice #13381

Professional Services

__Hrs/Rate _ Amount

"8/4/2008: S

8/6/2008 Kipha Omega matter: telephone conference wit SP regarding Fulce 0.30 28.50

—_~
ommae
oais

Statement of Information request. 95.00/hr

Ipha Orie } matter: telephone conference with opposi sel office 0.60 57.00
regarding VDRP session; telephone conference vi — memo to 95.00/hr .
file.

S<Alpha Omega “Alpha Omega Omega matter: telephone conference egarding 0.80 156.00
néttral\evaluation of case; prepare E-mail to regarding - 195.00/hr
investigation; receipt, review, and analyze Alpna Ome gal analysis. ,

Telephijie call BME message to return call 0.10 NO CHARGE
95.00/hr

Telepndi conference with Esquire Deposition Services; telephone 0.60 57.00
vonteren¢ with opposing counsel office. 95.00/hr

Telephotte call to GED -:<ss20° to retum call, 0.10 - NO CHARGE
. 95.00/hr

(661) 328-1986

EXHIBIT A 14
/ Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 15 of 53

Construction Benefits Admin, Inc.

Alpha Omega-natter: prepare letter to opposing counsel regarding VDRP
session conference.

8/11/2008 3 Orfege-matier: receipt, review, and analyze E-mail regarding Minute -

er from Court.

Alpha Omega matter: receipt, review, and process opposing counsel letter
and funds for conference rcom.

matter: telephone conference vit ay regarding

‘ memo to file.

Ord

8/14/2008 S Alpha Omega
Cipha Omsts
Apia Omeda matter: telephone conference ij egarding

nha Omegerreceipt, review, and analyze
soe. re eceipt, review, and analyze Burgoni letter of assent.

8/15/2008 $

8/18/2008 S Alpha Omeg amatter: several E-mails to/from Court Clerk and opposing
counsel regarding VDRP; telephone conference with Court and opposing

. counsel regarding VDRP; memo te file; receipt, review, and analyze Court
Order.

8/19/2008 S Alpha Omréda matter: receipt, review, and analyze Stipulation from opposing
counsel: receipt, review, and analyze Court Notice regarding same.

Oniege matter: prepare letter to opposing counsel regarding
Stipttation; receipt, review, and process E-mail with Stipulation, sign same
and return via E-mail; telephone conference with opposing counsel office
regarding same.

8/21/2008 S Aiphe-Omege-matter: telephone cogfere

strategy; telephone conference wit regarding investigation;
prepare VDRP brief; analysis of Alp ga records/payroll records; legal

research opposing counsel legal authority; review Federal cases regarding
same.

Ipha Omega matter: telephone conference with opposing counsel! office
regardi P Statements; meme to file.
Saipha Offigue- matter: receipt, review, and process Notice from Court; filed
Order,

8/22/2008 S\Alpha Omega matter: finalize mediation brief, review and analyze cases cited
5 Omega; legal research same; continue review of Federal cases for

opposition brief.

- EXHIBIT A

Page 2
Hrs/Rate
0.30 28.50
95,00/nr
0.10 9.50
95.00/hnr
0.10 9.50
95.00/hr
0.30 58.50
195.00/hr
0.60 117.00
195.00/hr .
1.20 234.00
195.00/hr
0.30 58.50
195.00/hr
0.50 47.50
95,00fhr
4.00 780.00
195.00/hr
0.30 28.50
95.00/hr
0.10 9.50
95.00/hr
2.30 448.50
195.00/hr

15

Construction Benefits Admin, Inc.

3 ‘Mpha Omega hatter: receipt, review, and analyze Fulce 2007 corporate
Statement of Information.

si

8/26/2008 matter:

Hine; conference with

i aie for and attendance at mediation with Chris

<Alpha Oméege# matter: prepare trial binder for hearing.

- telanhone conference with @jgggaror Mga

B on Fulce (complete file request).

£/27/20083 a aD

S Receipt, review, and process tters ii and

Glpha Omegs<t al.

For professional services rendered
Additional Charges :
8/7/2008 Delivery services/messengers. |

8/11/2008 Esquire Deposition

8/20/2008 Litigation support - GKL Corporate Search, Inc.
8/31/2008 Copies - August 2008. >

Facsimile - August 2008
Postage - August 2008._

Total additional charges

4 Total amount of this bill

EXHIBIT A

ase 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 16 of 53

Page 3

Hrs/Rate Amount

os

0.10 19.50
195.00/hr

4.70 916.50
495.00/hr
0.50 47.50
95.00/hr
0.30 28.50
95.00/nr
0.10 19.50
195.00/hr

ay

46.00
75.00
42.00
69.00
6.00
2.10

$240.10

16
YO Case 1:08-cv-00498-LJO-JLT BetlmamFex4LlRied 04/27/12 Page 17 of 53 -

1430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits Admin, Inc.

Billie Hanner
3008 Sillect Drive, Suite 100
Bakersfield CA 93308

October 04, 2008

Invoice #13481

Professional Services

9/3/2008 S

__Hrs/Rate. ____Amount

. 9/4/2008 S

9/5/2008 S#Qipbadeumaega matter: receipt, review, and analyze certified records from 0.10
Secretary of State regarding Fulce Enterprises. 195.00/hr

ebudearciag

6 fee

eee
(661) 328-1986
EXHIBIT A’ 17
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Construction Benefits Admin, Inc.

Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 18 of 53

Page 2
Hrs/Rate Amount
9/15/2008 S Alphax@megetatter: multiple telephone conferences withh@iil 1.00 gab Q5:00
regarding Alpha Omega audit; memo to file; telephone conference with 195.00/hr
Nathan Powell regarding audit compliance; memo to file.

9/25/2008  Adphax@megaunatter: telephone conference with

ay 0.70 6660
telephone conference with opposing counsel Davis; memo to file: te ephone ~
call o aaaling

95.00/hr
left message to return call.

9/26/2008  AMBHa*@REGa matter: telephone conference with opposing counsel regarding 0.30 2650"

signed Stipulation and Order; memo to file. 95.00/hr

For professional services rendered aaa
Additional Charges :
9/10/2008 Alpha:@megermatter: professional services of Christopher Hine - Mediation eA B25,
TETRA RES RICE RET OR ED A
9/30/200880pies - ‘September 2008. a:60-
Total additional charges $417.85

Total amount of this bill
Previous balance
Accounts receivable transactions

9/11/2008 Payment to account - Thank You. Gheck No.
9/11/2008 Payment to account - Thank You. Check No.
9/12/2008 Payment to account - Thank You. Check No.

Total payments and adjustments

Balance due

EXHIBIT A

18
PL

Z Case 1:08-cv-00498-LJO-JLT [RevimantFext LEPed 04/27/12 Page 19 of 53

4

4430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits Admin, Inc.

Billie Hanner

3008 Sillect Drive, Suite 100
Bakersfield CA 93308

November 03, 2008

invoice #13548

Professional! Services

10/1/2008

10/20/2008

10/25/2008 S

10/27/2008 S$

10/29/2008

10/30/2008

Alpha Omega matter: receipt, review, and process E-mail fron
Alpha Omega matter: telephone call toQRRIMS, left message to return
call. ,

Alpha Omega matter: telephone conference with MED regarding
status; memo to file.

Alpha Omega matter: receipt, review, and analyze (Eseport and
Alpha Omega accounting documents.

Alpha Omega matter: continue analysis of GREP eport telephone
conference with garding investigation; memo to file;

ielephone conference opposing counsel regarding audit status; prepare letter to
opposing counsel regarding same.

Alpha Omega matter: telephone conference with opposing counsel regardin
Alpha Omega audit; memo to file; telephone conference with >
regarding same; memo to file.

Alpha Omega matter: receipt, review, and process E-mail from opposing
counsel with new records produced from defendants; telephone conference
with garding status of review of same; prepare files for
board meeure

i a

(661) 328-1986
EXHIBIT A

Firs/Rate

Amount

‘0.10
95.00/hr

0.10
95.00/hr

0.30
95.00/hr

0.60
195.00/hr

1.60
195.00/hr

0.60
495.00/hr

0.50
95.00/hr

19

47.5
Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 20 of 53

Construction Benefits Admin, Inc.

Page 2

Hrs/Rate Amount

10/31/2008 S

For professional services rendered

Additional Charges :
8/29/2008 Mediation.

450.00
10/31/2008 Copies - October 2008., 5.20
Facsimile - October 2008, 3.00

Postage - October 2008. “ 1.68

Total additional charges $159.88

Total amount of this bill
Previous balance

Accounts receivable transactions
9/12/2008 Payment to account - Thank You. Check No.
9/12/2008 Payment to account - Thank You. Check No.
Total payments and adjustments

Balance dus

EXHIBIT A . 20
v4
rl

Case 1:08-cv-00498-LJO-JLT Document

Construction Benefits Admin, Inc.

S Prepare letter to Jeffrey Davis regarding Ful?
request.

11/26/2008 S Alpha Omega matter: prepare E-mail to Jeff
review, and process response regarding s@

For professional services rendered
Additional Charges :
41/30/2008 Copies - November 2008

Postage - November 2008.

Total additional charges

Total amount of this bill
Previous balance
Accounts receivable transactions
12/2/2008 Payment to account - Thank You. Check No!
42/2/2008 Payment to account - Thank You. Check No.
42/2/2008 Payment to account - Thank You. Check No.

Total payments and adjustments

Balance due

EXHIBI

64-4 Filed 04/27/12 Page 21 of 53

2

HrsiRate

me

Enterprises information 0.40 78,00
195.00/hr

avis regarding status; receipt, 0.30 58.50
195.00/hr

aan

1.00

1.68

$2.68

TA 21
Billing Summary Perlman Fox, LLP

2009

Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 .Page 22 of 53

Attorney's Fees

we 4 ie 14 tn 1 1h 1 to 4 tn te th ns 4 4s tH i tn

Total

Grand Total

19.50
117.00
28.50
28.50
19.50
234.00
487.50

156.00.

19.50
520.00
240,00
100.00

60.00
140.00

80.00

80.00

80.00

57.00

38.00
160.00

38.00

9.50
9.50
9.50

1,100.00

wth et 1h 1 te an a a a 4 tt 4

Attorney's Fees Cont. Costs

9.50
20.00
9.50
28.50
95.00
28.50
400.00
40.00
47.50
260.00
9.50
100.00
80.00
200.00
240.00
100.00
440.00
140.00
440.00
120.00
140.00
120,00
300.00
60.00
66.50
140.00

Me OU OU OU

7,466.00 $

8,042.36

EXHIBIT A

2.32
168.66
62.56
0.384
81.14
11.18

' 26,84

89.33

0.40
. 1.22
36.40
94.97

576.36

Hours

0.70
0,70
4,70
1.40
0.60
4.30
0,80
1.90
6.40
2.20
3.50
1.90
1.20
3.40
2.80
3.40
0.70
2.00

42.60

22
ase 1:08-cv-00498-LJO-JLT Bgrumenes4-4 | Bled 04/27/12 Page 23 of 53

1430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

invoice submitted to.
Construction Benefits Admin; Inc.
Billie Hanner

- 3008 Siilect Drive, Suite 100 ~
Bakersfield CA 93308

January 02, 2009
invoice #13750

Professional Services

Hrs/iRate Amount
A ee a= “GE
12/17/2008 S Alpha Omega matter: receipt, review, and analyze letter from opposing counsel 0.10 19.50
regarding Fulce Enterprises. . 195.00/hr
12/23/2008 S Analysis of Fulce response to information request; prepare letter toga 0.60 117.00
SREB regarcing same. 195.00/hr .
For professional services rendered ae qa
Additional Charges : oe
12/31/2008 Copies - December 2008. . 0.40
Facsimile - December 2008. . 4.50
Pastage - December 2008. 0.42
Total additional charges $2.32

Total amount of this bill
Previous balance
Accounts receivable transactions

12/19/2008 Payment to account - Thank You. Check No,
12/22/2008 Payment to account - Thank You. Check N
_ 12/22/2008 Payment to account - Thank You. Check N

(661) 328-1986
EXHIBIT A 23
1430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

se 1:08-cv-00498-LJO-JLT_ BeemanFexattRied 04/27/12 Page 24 of 53

nvoice submitted to:

Construction Benefits Admin, Inc.

Billie Hanner

3008 Sillect Dri

Bakersfield CA

ve, Suite 100
93308

January 31, 2009

Invoice #13828

Professional Services

1/5/2009

1/6/2009

1/8/2009 S,

Wélaphdh cnference with REE regarding status of audit report,
memo to file.

Telephone call {oa | left message to return call; review court
-Jocket on all pending matters; calendar settlement status conference.

Telephone cali to [MMENEMR; eft message to return call.

relenhone call tos left message to return call.

(2100 <r

4/13/2009 S

1/14/2009 =

1/15/2009 S

Alpha Omega matter: receipt, review, and analyze EE audit
report; telephone conference with regarding same; memo
to file; telephone conference with {jp regarding notification to Alpha
Omega, et al regarding audit report.

Prepare Tor, travel tof and attendance at status conference/settlement
conference with Magistrate Judge Teresa Goldner; memo to file; telephone

conference with a mregarding investigation report; memo to file.

Télephone contergnce WIT) ame regarding investigation results;
receipt, review, and analyze Judge Goldner report and recommendations to
Judge Wainger regarding status conference/settlement conference;

telephone conference with MEE regarding status report, memo to file.

1/18/2009 S Alpha. Omega matter: receipt, review, and analyze opposing counsel letter

regarding auditor's report.

Hrs/Rate Amount

0.30 28.50
95.00/nr

0.30 28.50
95.00/hr

0.10 NO CHARGE
95.00/hr

0.10 49.50
495.00/hr
4.20  ——- 234.00
495.00/hr
2.50 487.50
495.00/hr
0.80 456,00
495.00/hr
0.10 49.50
495.00/hr

(661) 328-1986

' EXHIBIT A

24
Agia

#” Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed:04/27/12 Page 25 of 53

Construction Benefits Admin, Inc.

Page 2

1/21/2009 S

For professional services rendered

Additional Charges :

10/30/2008 Delivery services/messengers. — 157.50.
1/31/2009 Copies - January 2009. 9.40
Postage - January 2009. 1.76
Total additionalcharges = : . $168.66

Total amount of this bill

Previous balance

Balance due i

EXHIBIT A 25
SO

ve Case 1:08-cv-00498-LJO-JLT Paria dt ELpiled 04/27/12 Page 26 of 53

4430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits Admin, Inc.

Billie Hanner
3008 Sillect Drive, Suite 100
Bakersfield CA 93308

March 04, 2009

Invoice #13905

Professional Services

Hrs/Rate Amount

2/3/2009 S Alpha Omega matter: prepare letter tO MMF regarding Alpha 0.30 * 60.00
Omega investigation. 200.00/hr

2/16/2009 S Alpha Omega matter: prepare for conference with QRS review 0.70 140.00
audit report. — 200.00/hr

2117/2009 Alpha Omega matter: telephone conference with SERPEEE, em to 0.30 NO CHARGE
file. 95.00/hr

2/18/2009 ° Alpha Omega matter: telephone conference with {im regarding 0.30 NO CHARGE
meeting; meme to file. 95.00/hr

oa
a =

2/19/2009 S

2/24/2009 S

2/25/2009 S

S Alpha Omega matter: receipt, review, and process opposing counsel E-mail 0.40 80.00
—_ ao prepare response to same; prepare for conference with —— 200.00/hr
=< == —-—————

(661) 328-1986
EXHIBITA. 26
onstruction Benefits Admin, Inc.

S Alpha Omega matter: prepare for and attendance at conference wit ia
; receipt, review, and analyze additional documents fron aaa

§ review and analysis Collective Bargaining Agreement and Trust
Documents regarding Alpha Omega liability; prepare E-mail to

regarding status. —

2/27/2009 Nese ene
a

S Une
S Alpha Omega matter: continue review of documents from
prepare letter to attorney Klingenberger regarding audit investigation.

2/28/2009 S Allan ea ana

S$ Alpha Omega matter: continue preparation of letter to attorney Klingenberger
regarding audit.

For professional services rendered
Additional Charges :
2/28/2009 Copies - February 2009.
Facsimile - February 2009.
Postage - February 2009.

Total additional charges

Total amount of this bill
Previous balance
Accounts receivable transactions
2118/2009 Payment to account - Thank You. Check No.
2/18/2009 Payment to account - Thank You. Check No
2/18/2009 Payment to account - Thank You. Check No

Total payments and adjustments

EXHIBIT A

~ Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 27 of 53

Page 2
Hrs/Rate
2.60 520.00
200.00/hr

as
aa

4.20 240,00 ©
200.00/hr

allt.
0.50 400.00
200.00/hnr

27
Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 28 of 53

Construction Benefits Admin, Inc.

Page 3

Amount
Balance due

EXHIBIT A 28
#Case 1:08-cv-00498-LJO-JLT Opgument Pésé LEFed 04/27/12 Page 29 of 53

4430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits Admin, Inc.

Billie Hanner
3008 Sillect Drive, Suite 100
Bakersfield CA 93308

April 03, 2009 ~

Invoice #13984

Professional Services

Hrs/Rate Amount
3/6/2009 ene wipes
ays
3/19/2009 S , ae...
a”
3/24/2009 S Alpha Omega matter: review file regarding mediation settlement conference; 0.40 80.00
prepare E-mail to opposing counsel regarding same. 200.00/hr
3/31/2009 S Alpha Omega matter: follow-up scheduling mediation; prepare E-mail to 0.40 80.00
opposing counsel regarding same. 200.00/hr
For professional services rendered
Additional Charges: -

3/31/2009 Postage - March 2009. . 0.84
Total additional charges et $0.84
_ Total amount of this bill

Previous balance

Accounts receivable transactions :

1/9/2009 Payment to account - Thank You. .Check No.
1/9/2009 Payment to account - Thank You. Check No:
1/9/2009 Payment to account - Thank You, Check No.
3/16/2009 Payment to account - Thank You. Check No.
3/16/2009 Payment to account - Thank You. Check No

(661) 328-1986
EXHIBIT A 29
se 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 30 of 53

Construction Benefits Admin, Inc. Page 2

Amount

3/16/2009 Payment to account - Thank You. Check Noa

Total payments and adjustments

Balance due

EXHIBIT A 30
1430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

‘ase 1:08-cv-00498-LJO-JLT _ BStlnan FexnLlF og 04/27/12 Page 31 of 53

invoice submitied to:

Construction Benefits Admin, Inc.

Bitie Hanner

3008 Sillect Drive, Suite 100
Bakersfield CA 93308

May 01, 2009

Invoice #14060

Professional Services

4/7/2009

4/8/2009 S

4/9/2009 S
4/13/2009 -
4/14/2009 $

4/17/2009

Alpha Omega matter: multiple telephone conferences with attorney
Klingenberger's office regarding mediation; memo to file.

All matters: telephone conference with {iiligregarding status of alt
matters; memo to file; prepare Email as follow-up to same.

Alpha Omega matter: prepare for mediation; telephone conference wit].
egarding same; memo to file.

Telephone conference with Federal Court Clerk (local); memo to file; telephone
call io Federal Clerk in Fresno; left message to retum call.

omenmmrattér: receipt, review, and calendar Email from Federal Court
regarding 04/17 hearing off calendar.

All matters: e-mails to/from SEMEN regarding status of case hearings.
Alpha Omega matter: receipt, review, and calendar Emails from opposing
counsel and Esquire Deposition regarding mediation.

Alpha Omega matter: prepare for, travel to, and attendance at mediation.

Alpha Omega maiter: receipt, review, and calendar Email from Federal Court
regarding Order.

Alpha Omega matter: receipt, review, and process court order regarding
withdrawal of defense counsel.

Alpha Omega maiier: receipt, review, and process attorney Klingenberger letter
regarding mediation.

Hrs/Rate Amount
0.60 57.00
95.00/hr
0.40 38.00
95.00/hr
0.80 460,00
200.00/hr
0.40 38.00
95.00/hr
0.10 eOs80ns
95.00/hr .
0.10 oso”
95.00/hr
0.10 9.50
95.00/hr
5.50 4,100.00
200,00/nr
0.10 9.50
95.00/hr
0.10 " 20.00
200.00/hr
_ 010 9.50"
95.00/hr

(661) 328-1986

EXHIBIT A

31
@ 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 32 of 53

-truction Benefits Admin, Inc.

Page 2
Hrs/Rate Amount
4/20/2009 All matters: telephone conference with @§lliegarding status of all matters; 0.30 28.50
memo to file. 95.00/hr
4/21/2009 Alpha Omega matter: telephone conference with attorney Jeffrey Davis; memo 1.00 95.00
to file; telephone cail to Jennifer Borst at Klingenberger's office; left message to 95.00/hr
return call; begin preparation of Joint Status Report; review court docket
regarding same.
Alpha Omega matter: telephone conference with opposing counsel's office, 0.30 28.50
memo to file. — 95.00/hr
4/22/2009 S =. for and attend telephone conference with Daniel Klingenberger 2.00 400.00
regarding settlement and Joint Status Conference Statement; memo te file; 200.00/nr
prepare Joint Status Conference Statement for filing with District Court.
4/23/2009 S Alpha Omega matter: receipt, review, and analyze revised Status Conference 0.20 40.00
Report from attorney Klingenberger. 200.00/hr
sae ee eee i < .
an
Alpha Omega matter: telephone conference with memo to file. 0.50 47.50
oS 95.00/hr
4/24/2009 S Alpha Omega matter: finalize Joint Status Conference Report; Emails to/from 1.30 260.00
Dan quelling regarding Joint Status Report; telephone conference with 200.00/hr

suet esercing settlement issues; legal research same.

7a
‘(ee ee,

4/27/2009 Receipt, review, and process notice from District Court regarding filing of Joint 0.10 9.50
Status Report. 95,00/hr

7.

4/28/2009 S$

4/29/2009 $

EXHIBIT A . 32
/ Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 33 of 53

Construction Benefits Admin, Inc.

Page 3
Hours Amount
For professional services rendered qe se.
Additional Charges :
4/30/2009 Postage - April 2009. 0.84
Copies - April 2009. 65.80
Facsimile - April 2069. : 14.50
Total additional charges , $81.14

Total amount of this bill
Previous balance
Accounts receivable transactions

4/23/2009 Payment to account - Thank You. Check No!
4/23/2009 Payment to account - Thank You. Check No.
4/23/2009 Payment to account - Thank You. Check N

. Total payments and adjustments

Balance due

EXHIBIT A 33
Case 1:08-cv-00498-LJO-JLT PerhintanFokALied 04/27/12 Page 34 of 53

1430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Invoice submitted to:
Consiruction Benefits Admin, Inc.

Billie Hanner
3008 Sillect Drive, Suite 100
Bakersfield CA 93308

June 02, 2009 -

Invoice #14143

Professional Services

Hrs/Rate Amount

5/4/2009

5/5/2009

5/7/2009 S

binp

S Alpha Omega matter: legal research single em e exception to 0.50 |
bargaining unit; review Federal cases; revie a case. 200.00/hr
5/14/2009 S Alpha Omega matter: continue legal research single employee bargaining 0.40 80.00

unit and binding effect on Alpha Omega. *  200.00/hr

4?

p

1,00 200.00

5/15/2009 S
200.00/hr

5/19/2009

5/20/2009 S

bt
ls

(661) 328-1986

EXHIBIT A 34
4 Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 35 of 53

Construction Benefits Admin, Inc.

Page 2
Hrs/Rate Amount

5/21/2009 $

VE7~=~

5/27/2009 Ree i i=

5/28/2009 S$

» §/29/2009

For professional services rendered
Additional Charges :
5/31/2009 Copies - May 2009... . 6.80
Facsimile - May 2009. . 3.50
Postage - May 2009, . 0.88
Total additional charges $11.18

Total amount of this bill ~
Previous balance
Accounts receivable transactions
5/20/2009 Payment to account - Thank You. Check No.
5/20/2009 Payment to account - Thank You. Check No.
5/20/2009 Payment to account - Thank You. Check N
|

Total payments and adjustments
: {

Balance due

EXHIBIT A 35
ase 1:08-cv-00498-LJO-JLT (terlmmaniRoxALicRed 04/27/12 Page 36 of 53

1430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits ‘Admin, Iric.

Billie Hanner
3008 Sillect Drive, Suite 100
Bakersfield CA 93308

August 01, 2009

Invoice #14304

Professional Services

Hrs/Rate Amount
7/6/2009 S Alpha Omega matter: telephone conference with attorney Klingenberger 4.20 240.00
regarding status; memo to file; review file; legal research bankruptcy 200.00/hr

implication on CBAI complaint; review Moores Federal Practice Treatise
regarding same. .

7/23/2009 S QA aaa > a

For professional services rendered aii.

Additional Charges :

7/8/2009 Litigation support - PACER charges (04/01/09 -06/30/09). . 43.20
7/16/2009 Litigation support - PACER 43,20
7/31/2009 Postage - July 2009. tg

Total additional charges $26.84

Total amount of this bill
Previous balance
Accounts receivable transactions

7/27/2009 Payment to account - Thank You. Check No,
7/27/2009 Payment to account - Thank You. Check No
7/27/2009 Payment to account - Thank You. Check No.

Total payments and adjustments

(661) 328-1986

EXHIBIT A . 36
Case 1:08-cv-00498-LJO-JLT DBettman Geox Wig 04/27/12 Page 37 of 53
4430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits Admin, inc.
Billie Hanner ,

3008 Sillect Drive, Suite 100
Bakersfield CA 93308

August 31, 2009.

Invoice #14304

Professional Services

Hrs/Rate Amount

8/6/2009 S Alpha Omega matter: review file; telephone conference with <s 0.50 100.00

regarding status; memo to file. 200.00/nr .
8/25/2009 S Alpha Omega: prepare for, travel to, and attendance at conference with 2.20 440.00
' attorney Leonard Welch regarding bankruptcy issues; legal research USBC. 200.00/hr
8/27/2008 S Alpha Omega matter: continue legal research bankruptcy code regarding Alpha 0.70 140.00
Omega; review treatises regarding i, 200.00/hr
For professional services rendered . a $680.00
Additional Charges :

7/8/2009 Litigation support - PACER charges (04/01/09 -06/30/09). 13.20
7/16/2009 Litigation support- PACER . . 13.20
713112009 Postage - July 2009. . . . 0.44
8/27/2009 ERISA Litigation Guide 62.99

Total additional charges "$89.83

Total amount of this bill

Previous balance _. aie
Accounts receivable transactions }

7/27/2009 Payment to account - Thank You. Check No.
7/27/2009 Payment to account - Thank You. Chéck No|
7/27/2009 Payment to account ~- Thank You. Check No

(661} 328-1986

EXHIBIT A 37
Case 1:08-cv-00498-LJO-JLBerRaanroxQ4eP Filed 04/27/12 Page 38 of 53

1430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Inveice submitted to:
Construction Benefits Admin, Inc.

Billie Hanner -
3008 Sillect Drive, Suite 100
Bakersfield CA 93308

September 30, 2009

Invoice #14461

Professional Services

9/25/2009 S Preparation of Amended Complaint; legal research Motion fo Amend.

9/28/2009 S Alpha Omega matter: telephone conference i

Omega status; prepare memo toJMy and
report.

For professional services rendered
Additional Charges :

9/30/2009 Copies - September 2009

Total additional charges

Total amount of this bill
Previous balance
Accounts receivable transactions
9/22/2009 Payment to account - Thank You. Check No. 13758
9/22/2009 Payment to account - Thank You. Check No. 12354
9/22/2009 Payment to account - Thank You. Check No. 12757

Total payments and adjustments

Balance due

EXHIBIT A

regarding Alpha
egarding status

Hrs/Rate Amount -

2.20 440.00
200.00/hr

0.60 - 120.00
200.00/N7

2.80 $560.00

0.40

$0.40

$560.40

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2 ™ Case 1:08-cv-00498-LJO-JLT POF Fok AL ied 04/27/12 Page 39 of 53

1430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits Admin, Inc.

Billle Hanner

3008 Sillect Drive, Suite 100
Bakersfield CA 93308

November 03,

2009

Invoice #44535

Professional Services

10/1/2009 S

10/12/2009 S

10/20/2009 S

10/22/2009 S$

10/30/2009

Telephone call to Daniel Klingenberger; left message to return call; legal
research Motion to Amend Complaint.

Telephone conference with Sq regarding
memo to file; receipt, review and analyze additional client documents

regarding monthly employee work reports.

Alpha Omega matter: finalize Amended Complaint against Burgoni; prepare
letter to attorney Klingenberger regarding same.

Alpha Omega matter: conference with Daniel Klingenberger regarding
defendants’ financial inability to pay; memo to file.

Alpha a matter: telephone conference with SEE} regarding

Burgoni emo to file.
Alpha Omega matter: prepare letter to opposing counsel regarding

Stipulation and Amended Complaint; telephone conference with
Klingenberger's office regarding extension; memo to file; calendar same.

For professional services rendered

Additional Charges :

10/31/2009 Postage - October 2009

Copies - October 2009

Total additional charges

Total amount of this bill

(661) 328-1986
EXHIBIT A

Hrs/Rate Amount

0.70 440.00
200.00/hr

0.60 120.00
200.00/hr

1.50 ~300.00
200.00/hr

0.30 60.00
200.00/hr

0.30 NOCGHARGE
200.00/hr

0.70 66.50
95.00/hr

4.10 $686.50

4.22

36.40

$37.62

$724.12

39
Case 1:08-cv-00498-LJO-JLT Document64-4 Filed 04/27/12 Page 40 of 53
Perlman Fox, LLP

1430 Truxtun Avenue, Suite 720
Bakersfield, CA 93301

Invoice submitted to:
Construction Benefits Admin, Inc.

Billie Hanner
3008 Sillect Drive, Suite 100
Bakersfield CA 93308

November 30, 2009

Invoice #14609

Professional Services

HrsiRate Amount

11/6/2009 S Receipt, review and process client letter regarding Alpha Omega file transfer. 0.10 NO CHARGE
, 200.00/hr

11/18/2009 S Prepare Alpha Omega file for transfer to attorney Kissane; review same. 0.50 NO CHARGE
200.00/hr

S Receipt, review and analyze ani = nails; 0.70 NO CHARGE
prepare status report to 200.00/hr

11/23/2009 S Receipt, review and analyze Daniel Klingenberger letier regarding status; 0.70 140.00
prepare letter to WERE carding same and substitution issue; 200,00/hr

prepare letter to Daniel Klingenberger regarding appointment of new counsel.

For professional services rendered 2.00
Additional Charges :
11/30/2009 Copies - November 2009.

Postage - November 2009

Total additional charges

Total amount of this bill

Accounts receivable transactions

14/23/2009 Payment to account - Thank You. Check No. 13772
41/23/2009 Payment to account - Thank You. Check No. 12776

$140.00

81.60

13.37

$94.97

$234.97

Previous balance aa»

(661) 328-1986.
EXHIBITA | 40
Case 1:08-cv-00498-LJO-JLT MBBS a COOK SF iled 04/27/12 Page 41 of 53

ASSOCIATES
A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
3444 Camino Del Rio North, Suite 106
SAN DIEGO, CALIFORNIA 92108
(619) 280-4302

KERN COUNTY ELECTRICAL ?
clo MATTHEW T. KISSANE

March 25, 2012

In Reference To: v. ALPHA OMEGA ELECTRIC
File Number: 1155.15

Professional Services

12/3/2009 Phone conference with union re: project information and joint check (x2); prepare
correspondence to employer; prepare joint check agreement.

1/4/2010 Review and analysis of files sent by prior counsel in preparation of taking over case;
phone conference with opposing counsel re: client's financial position.

1/12/2010 Exchange emails with opposing counsel re: financial status of company and
documents requested. review and analysis of appropriate documents to determine
company's financial status.

1/13/2010 Review and analysis of Compiiance Verification reports; litigation documents and
correspondence between prior counsel and defendant; exchange emails with
opposing counsel re: same; prepare substitution of counsel form.

1/14/2010 Review and analysis of Compliance Verification report; review and analysis of prior
attorney notes; review and analysis of correspondence to/from employer; review and
analysis of investigation report. Research and analysis of court documents on Pacer.

1/15/2010 Revise and edit designation of counsel re: substitution of counsel.

1/18/2010 Review and analysis of local rules re: multiple attorneys/substitution of counsel;
review and analysis of file; exchange emails with prior attorney re: same (x2); review
and analysis of filled documents on PACER; review and analysis of court minute order
re: status report.

1/21/2010 Exchange emails with administrator re: correspondence from employer;

EXHIBIT B

Hrs/Rate Amount

0.80 200.00
250.00/hr

0.90 225.00
250.00/hr

1.00 250.00
250.00/hr

1.50 . 375.00
250.00/hr

1.70 425.00
260.00/hr

0.20 50.00
250.00/hr

0.70 175.00
250.00/hr

0.20 50.00
250.00/hr

41
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KERN COUNTY ELECTRICAL

1/27/2010 Review and analysis of file; prepare report for Board of Trustees meeting; exchange
emails with opposing counsel re: financial documents.

2/8/2010 Review and analysis of file; exchange emails with opposing counsel re: client financial
records,

2/9/2010 Exchange emails with opposing counse! re: financial documents requested.

3/5/2010 Exchange emails with opposing counsel re: financial documents needed; review and
analysis of file,

4/19/2010 Review and analysis of file re: amending complaint to allege fraud; review and
analysis of correspondence between this office and opposing counsel; exchange
emails with opposing counsel re: production of client's financial records.

4/23/2010 Review and analysis of correspondence between opposing counsel and prior counsel
re: stipulation for amended complaint; exchange emails with opposing counsel re:
same and delay in obtaining financial documents.

4/26/2010 Review and analysis of local and federal rules re: amended pleadings; review and
analysis of amended complaint rough draft; review and analysis of correspondence
with Employer's attorney re: financial documents requested; prepare report for Board
of Trustees meeting; conference with allFre: same; exchange emails with
SEB and administrator re: same.

4/30/2010 Review and analysis of file re: amended complaint; exchange emails with
administrator re: cost to file amended complaint. (x2}

5/3/2010 Exchange emails with administrator re: Board approval of recommendation; review
and analysis of docket report and court minute orders re: determining pretrial
scheduling order cutoff date for motion to amend; research and analysis of local rules
re: same.

5/4/2010 Review and analysis of file; prepare email correspondence to opposing counsel re:
stipulation to amend and amended complaint and requested financial documents. (x3)

5/7/2010 Review and analysis of file and correspondence to employer's attorney re: amending
complaint; phone conference with opposing counsel's office re: same.

5/10/2010 Exchange emails with opposing counsel re: financial documents and stipulation to
amend complaint.

6/12/2010 Review and analysis of correspondence from opposing counsel re: financial
documents requested.

5/14/2010 Review and analysis of file; phone conference with opposing counsel's office; prepare

correspondence to participant's attorney re: motion for leave of court to amend
complaint.

EXHIBIT B

Page 2

Hrs/Rate Amount

1.00
250.00/hr

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75.00
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KERN COUNTY ELECTRICAL Page 3

Hrs/Rate Amount

5/20/2010 Prepare Stipulation to Amend Complaint; exchange emails with former attorney re: 0.40 400.00
amended complaint. 250.00/hr

5/21/2010 Exchange emails with former attorney re: Amended Complaint. 0.20 50.00

250.00/hr

5/24/2010 Revise and edit amended complaint; prepare exhibits re: same. , 0.20 50.00

250.00/hr

5/25/2010 Review and anaiysis of stipulation, amended complaint and exhibits; exchange emails 0.30 75.00
with opposing counsel re: same. 250.00/hr

6/1/2010 Exchange emails with opposing counsel re: stipulation to amend complaint. 0.20 50.00
250.00/hr |
6/2/2010 Exchange emails with opposing counsel's office re: stipulation to amend complaint. 0.20 50.00
250.00/hr
6/3/2010 Exchange emails with opposing counsel re: termination of representation and 0.20 50.00
financial documents requested. 250.00/hr
Review and analysis of local rules re: proposed orders for stipulations. 0.20 50.00
250.00/nr

. 6/8/2010 Phone conference with court clerk re: Exhibit to Proposed Order; exchange emails 0.20 50.00
with court clerk re: same. 250.00/hr

6/16/2010 Exchange emails with opposing counsel re: notice and acknowledgement. 0.20 50.00

250.00/hr

6/23/2010 Exchange emails with opposing counsel re: service of amended complaint. 0.20 50.00

, 250.00/hr

6/28/2010 Review file re: issue of service of amended complaint and need for amended . 0.30 75.00
summons. 250.00/hr

7/6/2010 Research and analysis of court documents on PACER re: status as "stayed" case; 0.30 75.00
exchange emails with opposing counsel re: obtaining defendants’ financial 250.00/hr
documents.

7/20/2010 Review and analysis of file; research and analysis of FRCP re: time to respond to 0.40 100.00
amended complaint; research and analysis of defaulting defendant re: amended 250.00/hr ,
complaint; exchange emails with opposing counsel re: same.

7/21/2010 Exchange emails with opposing counsel re: extension of time to file answer. 0.20 50.00

250.00/hr

7/22/2010 Review and analysis of Defendant's Answer to complaint. 0.30 75.00

250.00/hr

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KERN COUNTY ELECTRICAL

7/27/2010 Exchange emails with opposing counsel re: financial documents requested.

7/28/2010 Exchange emails with opposing counsel re: discoverable documents; research and
analysis of prior discovery and defendants' records; review and analysis of Joint
Status Report and Early Neutral Evaluation; prepare report to Board of Trustees;
transmit report te administrator.

7/29/2010 Exchange emails with administrator re: postponed meeting and updated report for
Board of Trustees.

7/30/2010 Review and analysis of file re: tax return information for employer; exchange emails
with opposing counsel re: financial information requested.

8/9/2010 Review and analysis of file re: formal or informal discovery undertaken by former
counsel; exchange emails with opposing counsel re: refusal to produce requested
documents; review and analysis of requested financial documents; exchange emails
with opposing counsel re: same.

8/20/2010 Review and analysis of correspondence from defendants’ attorney re: financial status;
research and analysis of Defendants’ financial information to confirm same; research
and analysis of Defendant Burgoni on Lexis, Secretary of State and CSLB websites;
research and analysis of Defendant Tadoc Enterprises on same; research and
analysis of Defendant Fulce Enterprises on same; research and analysis of case cited
by Defendants' attorney re: same; exchange emails with opposing counsel re: same.

8/24/2010 Exchange emails with opposing counsel re: financial documentation requested (x2);
review and analysis of lawsuit and judgment against Defendants in Kern County
Superior Court; review and analysis of additional financial documents provided by

opposing counsel; exchange emails with @jP re: same (x2); review and analysis of
audit documents re: ; prepare report for
Board of Trustees meeting; exchange emails with re: same.

8/25/2010 Exchange emails with Ec: recommendation for Board of Trustees meeting
(x2); exchange emails with administrator re: same (x2)

8/30/2010 Exchange emails with administrator re: board decision.
8/31/2010 Review and analysis of file; phone conference with Wi and QB re: Board
decision; exchange emails with opposing counsel re: same.

9/10/2010 Exchange-emails with opposing counsel re: terminating representation and contacting
clients

9/17/2010 Exchange emails with opposing counsel re: motion to withdraw as counsel and
upcoming discovery requests.

10/5/2010 Review and analysis of documents produced by defendants’ attorney re: preparation

of Requests for Production and Interrogatories; review and analysis of case law. re:
elements of alter ego and successor liability; review and analysis of file re: same;

EXHIBIT B

Page 4

Hrs/Rate Amount

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KERN COUNTY ELECTRICAL

prepare Requests for Production for Christopher Burgoni;prepare Requests for
Production for Tadoc Enterprises;

10/12/2010 Review and revise Requests for Production for Tadoc Enterprises, Fulce Enterprises
and Christopher Burgoni; prepare Interrogatories for Burgoni; prepare same for
Tadoc Enterprises; prepare same for Fulce Enterprises; outline questions for
Requesis for Admission. ,

10/14/2010 Exchange emails with opposing counsel re: discovery requests.

10/19/2010 Review and revise Interrogatories and Requests for Production to Defendants Tadoc
Enterprises; Fulce Enterprises and Burgoni; review and analysis of case status and
deadlines on PACER.

10/22/2010 Revise and edit Requests for Production and Interragatories to defendants Burgoni,
Fulce Enterprises and Tadoc Enterprises.

10/25/2010 Prepare report for Board of Trustees meeting.
10/26/2010 Exchange emails with administrator re: report for Board of Trustees meeting (x2)
10/27/2010 Transmit report to administrator; phone conference with administrator re: same.
11/5/2010 Review and analysis of file re: discovery requests and deadline for same.
11/9/2010 Phone conference with process server re: obtaining documents from a similar lawsuit
against Defendants
11/29/2010 Review and analysis of file; exchange emails with opposing counsel re: Motion to
Compel; review and analysis of filed documents in lawsuit against Defendants by .
Consolidated Electrical Distributors; phone conference with defendants' attorney re:
extension for discovery deadline.

12/1/2010 Review and analysis of correspondence to opposing counsel re: extension for
discovery requests.

12/14/2010 Review and analysis of file; exchange emails with opposing counsel re: failure to .
produce documents.

12/15/2010 Exchange emails with opposing counsel re: discovery and Motion to be relieved as
counsel.

12/22/2010 Exchange emails with opposing counsel re: late discovery responses and motion to
compel.

EXHIBIT B

Page 5

Hrs/Rate Amount

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KERN COUNTY ELECTRICAL

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2/15/2011

3/31/2011

4/12/2011
4/21/2011
5/2/2014
5/5/20 11
5/10/2011

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5/12/2011

5/13/2011

5/17/2011

Review and anaylsis of file; exchange emails with opposing counsel re: discovery
responses.

Exchange emails with defendants’ attorney re: late discovery requests.

Finalize report for Board of Trustees meeting; exchange emails with administrator re:

same.

Review and analysis of file; exchange emails with defendants' counsel re: discovery
responses and motion to compel; research and analysis of case information on
PACER;

Exchange emails with opposing counsel re: motion to compel discovery.

Review and analysis of file re: deadline for defencants' attorney to file motion ta
withdraw ‘

Review and analysis of file; exchange emails with opposing counsel re: discovery
responses and motion to withdraw,

Review and analysis of court docket on PACER re: defense counsel's motion to
withdraw;

Review and analysis of file; exchange emails with opposing counsel re: motion to
compel discovery

Review and analysis of Local Rules re: motion to compel; review-and analysis of
judge's procedures and calendar; prepare notice of motion to compel; prepare
Memorandum of Points and Authorities re: same; prepare attorney declaration re:
same; prepare Proposed Order re: same; exchange emails with bookkeeper re:
attomey's fees incurred for same; phone conference with opposing counsel's office
re: same; phone conference with court clerk re: same (x2); research and analysis of
potential assets of all defendants; research and analysis of corporate defendants
corporate status; research and analysis of defendants' contractor licenses; prepare
report for Board of Trustees.

Review and revise Notice and Motion to Compel; review and revise declaration,
memorandum and proposed order re: same; review and revise report for Board of
Trustees meeting; exchange emails with administrator re: report for Board of
Trustees meeting;

Review and revise motion to compel and corresponding documents prior to filing.
Exchange emails with administrator re: delinquency report and trustee updates re:

same.

Review and analysis of opposing counsel's motion to withdraw and corresponding
documents.

EXHIBIT B

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Hrs/Rate Amount

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KERN COUNTY ELECTRICAL

5/24/2011

5/25/2011

6/3/2011

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6/10/2011

6/13/2011

6/23/2011

6/24/2011

6/27/2011

7/5/2011

7/16/2011

7/7/2011

7/12/2011

7/25/2011

8/15/2011

Review and analysis of Motion to Withdraw as Counsel; review and analysis of Local
Rules cited in opposing attorney's brief; prepare Opposition/response to same. ,

Review and revise Opposition/Response to Defendants' motion to withdraw as
counsel

Review and analysis of docket re: new magistrate judge assignment prior to filing
opposition to defendants' attorney's motion to withdraw as counsel.

Review and analysis of file re: upcoming hearing on motion for summary judgment;
conference with re: telephonic appearance and scheduling CourtCall for same.

Review and analysis of court docket and court website re: tentative ruling posted;
review and analysis of judge's procedures and calendar in preparation for hearing on
motion to compel; review’and analysis of same.

Review and analysis of Motion to Compel and corresponding documents and
discovery requests in preparation for hearing; attend hearing re: same; review and
analysis of Court Order re: same and award of attorney's fees

Review and analysis of file re: production deadline and upcoming hearing on motion
to withdraw,

Review and analysis of file re: upcoming Motion to Withdraw hearing.

Review and analysis of file; attend hearing on motion to withdraw as counsel; phone
conference with opposing counsel re: same: review and analysis of court minute
order re: same.

Review and analysis of Defendant's proposed order on Motion to Withdraw: review
and analysis of defendants‘ various responses te request for production of
documents; review and analysis of defendant Tadoc Enterprises’ response to
interrogatories; exchange emails with opposing counsel re: inadequacy of same and
meet and confer requirements.

Review and analysis of correspondence from opposing counsel re: discovery
responses.

Review and analysis of file re: Order granting opposing counsel's withdrawal.
Review and analysis of file; exchange emails with opposing counsel re: discovery
responses.

Review and analysis of file re: defendant contact information for notice of
unavailability of counsel.

Review and analysis of file; phone conference with a an he re:

; review and analysis of discovery documents produced by
defendanis:

EXHIBIT B

250.00/hr

47

Page 7
Hrs/Rate Amount
1.60 400.00
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KERN COUNTY ELECTRICAL

8/16/2011

8/18/2011

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8/23/2011

8/24/2011

8/25/2011

9/1/2011

9/9/2011

9/12/2011

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9/16/2011

9/19/2011

9/20/2011

Review and analysis of file; review and analysis of prior audit documents, tax returns
and payroll summaries re: iQ prepare report fo Board of
Trustees re: same. oe

Review and analysis of file; research and analysis of documents produced and ai?
; research and analysis of corporate defendant information on
CSLB and Secretary of State websites; exchange emails with auditor re: audit results;

Review and analysis of file; exchange emails with former attorney re: missing
documents.

‘Review and analysis of file; exchange emails with MB re:

review and analysis of audit results and documents from auditor;
exchange emails with auditor re: same;

Exchange emails with former attorney re: case file; review and analysis of audit
report research and anatysis A! MSJ against
all defendants; research and analysis of and for requests
for admission.

Prepare outline of elements to be proved in MSJ in preparation of preparing requests
for admission.

Continue to review audit documents and prior attorney's investigation rexliRiaaais
Exchange emails with administrator re: CBA in effect at time defendant was signatory;
prepare requests for admission to Burgoni;

Phone conference with former attorney's office re: records; phone conference with
administrator re: CBA in effect while defendant was signatory.

Review and analysis of file; prepare RFA's to Defendant Burgoni; prepare RFA's for
Defendant Tacdoc Enterprises; prepare RFA's jor Defendant Fulce Enterprises.

Revise and edit Requests for Admission.
Review and analysis of Order of Reassignment and form re: consent to magistrate
judge assignment.

Review and analysis of correspondence from district court re: magistrate judge
assignment; review and revise Requests for Admission;

Review and revise Requests for Admission to Burgoni, Fulce Enterprises and Tadoc
Enterprises.

Continue to review and revise Requests for Admission re: alter-ego theory, prepare
Supplemental interrogatories to each Defendant

EXHIBIT B

Page

8

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Case 1:08-cv-00498-LJO-JLT Document 64-4 Filed 04/27/12 Page 49 of 53

KERN COUNTY ELECTRICAL

9/20/2011
9/22/2011
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10/11/2011
10/12/2011

10/18/2011

10/25/2011
11/8/2011

11/15/2011

11/46/2011

1118/2011

11/21/2011

11/22/2011

Research and analysis on Lexis of updated contact information for Defendants re:
returned mail.

Research and analysis of updated addresses for defendants for service of RFA's
Review and analysis of file; calendar response date for Requests for Admission.
Review and analysis of certificates of service filed by defendant's former counsel re:

Order on Motion to Withdraw as Counsel.

Review and analysis of file re: RFA's and magistrate judge consent; review and
analysis of new judge's order re: defendant's time to hire new counsel.

Review and analysis of file; review and analysis of correspondence from former

_ opposing counsel re: proofs of service of Order Granting Motion to Withdraw

Review and analysis of file re: Requests for Admission; review and analysis of
documentation from defendants’ former attorney.

Review and analysis of Amended Order to Enter Appearance; review and analysis of
filed documents re: proofs of claim; review and analysis of previously entered orders

re: same; review and analysis of OSC for Defendants re: consent to magistrate judge.

Review and analysts of file re: requests for admission; review and analysis of local
rules re: motion hearings in preparation for filing MSJ.

Review and analysis of file; review and analysis of Interrogatorias propounded on
Defendant Burgoni: review and analysis of responses to same.

Review and analysis of file; review and analysis of Requests for Admission and
discovery re: SE SEgEEgETEEEeD review and analysis of
CBA's fram 2092-2008; prepare report to Board of Trustees. ~

Review and revise delinquency report; exchange. emails with GE re: same;
send same to administrator.

Review and analysis of email from €M§M re: board action on recommendation to

Trustees; review and analysis of Magistrate Judge's Report and Recommendation re:

defaulting defendants and dismissing action; review and analysis of clerk's notice re:
case assignment; review and analysis of minute order re: service; phone conference
with administrator re: case status and progress.

Review and analysis of file; review and analysis of Order re: Defendant default and
case dismissal; prepare brief re: Objections to magistrate judge's report and
recommendations;

Continue to review and revise Objections to Magistrate Judge’ s Report and
Recommendations order

EXHIBIT B

Page

9

Hrs/Rate Amount

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KERN COUNTY ELECTRICAL

11/30/2011 Review and revise Objections to Magistrate Judge's Report and Recommendation
prior to filing; review and analysis of Order Amending Report and Recommendation;

42/19/2011 Review and analysis of file; review and analysis of Objection to Report and
Recommendation filed by defendant Burgoni; review and analysis of Case
Assignment Order and various filed documents re: defendant's address listed;

12/20/2011 Review and analysis of file; prepare Notice of Unavailability.

12/21/2011 Review and analysis of Order adopting magistrate judge's R&R; review and analysis
of minute order re: same; review and analysis of entry of default; research and
analysis of federal rules re: default judgment for multiple defendants;

12/22/2011 Review and analysis of first amended complaint re: causes of action to prove for
default judgment; review and analysis of audit results; exchange emails with auditor
re: declaration in support of same; review and analysis; review and analysis of case
documenis re: preparing application for default judgment. ,

12/23/2011 Review and analysis of file; continue to prepare for Application for Default Judgment;

1/4/2012 Review and analysis of file; review and analysis of auditor's report; review and
analysis of LD's and interest policy; exchange emails with auditor re: same.

1/10/2012 Research and analysis of Local Rules re: preparing application for default judgment.

1/23/2012 Review and analysis of file; prepare Administrator Declaration re: Application for
Default Judgment; review and analysis of First Amended Complaint re: allegations to
prove in Application for Default Judgment; review and analysis of audit report and
Trust Agreements; exchange emails with auditor re: updating audit reports to reflect
increased LD's;

1/24/2012 Review and analysis of CBA re: ies: review and analysis of trust
agreements and audit policy re: iii exchange
emails with ies re: board action at last meeting; phone conference with
administrator re: assessment of LD's; exchange emails with administrator re: same.

1/25/2012 Review and analysis of flie; prepare Notice of Application for Default Judgment;
prepare Memorandum of Points and Authorities re: same.

2/14/2012 Review and analysis of file; prepare report for Board of Trustees meeting.

For professional services rendered

EXHIBIT B

Page

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Hrs/Rate Amount

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Additional Charges::

‘Amount

6/25/2010 Photocopies . 6.15
6/25/2010 Photocopies & Postage , 9.44
7/25/2010 Photocopies & Postage 2.26
10/25/2010 Photocopies & Postage : . 8.52
11/19/2010 Rapid Legal Service retrieved documents from Court File. (772043) 381.90
5/16/2011 Rapid Legal Service delivered courtesy copies of documents to Judge. (795832) 183.45

6/13/2011 CourtCall - telephonic appearance on June 13, 2041 at 9:00 a.m. re Motion to Compel Production of 30.00
Documents and Answers to Interrogatories

6/25/2011 Photocopies & Postage 1.04
7/12/2011 Cost Advance CourtCall - telephonic court appearance, hearing date 6/27/11. (Firm's credit card) 30,00
7/25/2011 Faxes, Photocopies & Postage 2.22
8/25/2011 Downloads 1.65
9/25/2011 Downloads, Photocopies & Postage 10.82
12/25/2011 Photocopies & Postage - &79
Total additional charges $673.24

For professional services rendered 76.90$19,898,24

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4/23/2012 COOK AND ASSOCIATES, A.P.C.
2:10 PM Slip Listing ,

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Page 1

Selection Criteria

Slip.Classification Open
Clie.Selection Include: KERN COUNTY ELECTRICAL-ALPHA

Rate Info - identifies rate source and level

Slip ID _ Attorney Units Rate Slip Value
Dates and Time Activity DNB Time Rate Info
Posting Status Client Est. Time Bill Status
Description Variance
223 TIME EED 2.50 250.00 625.00
4/16/2012 9:44 AM a, Time 0.00 T@1
WIP KERN COUNTY ELEC 0.00
Review and analyze file; Review and analyze 9.00
OSC; prepare Admin declaration re: Application
for Default Judgment; review and analyze audit
results; conference with 9p rc: aie
WB. exchange emails with Sima re:
same; exchange emails with former attorney re:
obtaining billing; exchange emails with
administrator re: same; prepare Memorandum of
Points and Authorities re: Application for Default
Judgment;
247 - TIME EED 0.70 250.00 175.00
4/17/2012 11:21 AM Time 0.00 T@1
WIP KERN COUNTY ELEC 0.00
Review and analyze file; continue to prepare 0.00
Memorandum of Points and Authorities re:
Application for Default Judgment; research and
shepherdize case law in support of same;
266 TIME EED 2.60 250.00 650.00
4/18/2012 1:30 PM Time 0.00 T@1
WiP KERN COUNTY ELEC 0.00
Review and analyze file; exchange emails with 0.00
administrator re: former attorney's billing records
(x2); exchange emails with re: follow
up on prepare
auditor declaration; exchange emails with auditor
re: bills; prepare Proposed Judgment; prepare
Proposed Order; prepare Notice; research and
analyze Local Rule re: filing of Application for
Default Judgment; exchange emails with
bookkeeper re: attorney's fees and costs;
291 TIME FED 2.40 250.00 600.00
4/20/2012 1:12 PM Time 0.00 T@1
WIP KERN COUNTY ELEC 0.00
Review and analyze file; exchange emails with 0.00

EXHIBIT B

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4/23/2012 COOK AND ASSOCIATES, A.P.C. ‘
2:10 PM Slip Listing Page 2
Siip ID Attorney Units Rate Slip Value
Dates and Time Activity DNB Time Rate Info
Posting Status Client Est. Time Bill Status
Description Variance
administrator re: prior attorney's billing records;
review and analyze former attorney's billing
records; review and redact same re: attorney client
privilege/work product and unrelated billing entries
for years 2007, 2008 and 2009; exchange emails
with auditor re: audit bills and declaration; review
and redact current attorney's fees and costs.
300 TIME EED 1.80 250.00 450.00
4/23/2012 - 14:29 AM Time 0.00 T@1
WIP , KERN COUNTY ELEC 0.00
Review and analyze file; exchange emails with 0.00
administrator re: declaration for application for
default judgment; continue to prepare and finalize
administrator declaration re: same; prepare
exhibits to same; prepare and finalize auditor
declaration re: same; prepare exhibits re: same;
research and analysis of local rules re: obtaining
hearing date;
Grand Total
Billable 10.00 2500.00
Unbillable 0.00 0.00
Total 10.00 2500.00
EXHIBIT B 53
